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 8
 9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
12     Nehemiah Kong,                              Case No.
13                Plaintiff,                       Complaint For Damages And
                                                   Injunctive Relief For Violations Of:
14        v.                                       American’s With Disabilities Act;
                                                   Unruh Civil Rights Act
15     H & A Properties, L.P., a California
       Limited Partnership;
16     H & A Real Estate Investments, Inc.,
       a California Corporation; Ocean Foot
17     Spa, a California Corporation; and
       Does 1-10,
18
                  Defendants.
19
20
           Plaintiff Nehemiah Kong complains of Defendants H & A Properties, L.P.,
21
     a California Limited Partnership; H & A Real Estate Investments, Inc., a California
22
     Corporation; Ocean Foot Spa, a California Corporation; and Does 1-10
23
     (“Defendants”) and alleges as follows:
24
25
           PARTIES:
26
       1. Plaintiff is a California resident with physical disabilities. He is a paraplegic
27
     who suffers from Polio. He uses a wheelchair for mobility. He has a specially
28
     equipped van with a ramp that deploys out of the passenger side of his van.

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 1     2. Defendants H & A Properties, L.P. and H & A Real Estate Investments, Inc.
 2   owned the real property located at or about 17258 Hawthorne Blvd., Torrance,
 3   California, in June 2017.
 4     3. Defendants H & A Properties, L.P. and H & A Real Estate Investments, Inc.
 5   own the real property located at or about 17258 Hawthorne Blvd., Torrance,
 6   California, currently.
 7     4. Defendant Ocean Foot Spa, a California Corporation, owned the Ocean Foot
 8   Spa located at or about 17258 Hawthorne Blvd., Torrance, California, in June 2017.
 9     5. Defendant Ocean Foot Spa, a California Corporation, owns the Ocean Foot
10   Spa (“Spa”) located at or about 17258 Hawthorne Blvd., Torrance, California,
11   currently.
12     6. Plaintiff does not know the true names of Defendants, their business
13   capacities, their ownership connection to the property and business, or their relative
14   responsibilities in causing the access violations herein complained of, and alleges a
15   joint venture and common enterprise by all such Defendants. Plaintiff is informed
16   and believes that each of the Defendants herein, including Does 1 through 10,
17   inclusive, is responsible in some capacity for the events herein alleged, or is a
18   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
19   when the true names, capacities, connections, and responsibilities of the Defendants
20   and Does 1 through 10, inclusive, are ascertained.
21
22     JURISDICTION & VENUE:
23     7. This Court has subject matter jurisdiction over this action pursuant to 28
24   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
25   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
26     8. Pursuant to supplemental jurisdiction, an attendant and related cause of
27   action, arising from the same nucleus of operative facts and arising out of the same
28   transactions, is also brought under California’s Unruh Civil Rights Act, which act


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 1   expressly incorporates the Americans with Disabilities Act.
 2      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is founded
 3   on the fact that the real property which is the subject of this action is located in this
 4   district and that Plaintiff's cause of action arose in this district.
 5
 6      FACTUAL ALLEGATIONS:
 7      10. Plaintiff went to the Spa in June 2017.
 8      11. The Spa is a facility open to the public, a place of public accommodation,
 9   and a business establishment.
10      12. Parking is one the facilities, privileges and advantages offered by Defendants
11   to patrons of the Spa.
12      13. However, there was not a single van accessible parking space located in the
13   parking lot serving the Spa.
14      14. Although there was one designated accessible parking space serving the Spa,
15   the parking stall measured 96 inches in width while the access aisle measured only
16   60 inches in width, which is not van accessible.
17      15. There is a van accessible parking space in the parking lot serving the Chase
18   Bank in a different building nearby. However, there was no wheelchair accessible
19   path of travel from that parking lot because there is a step that leads to the walkway
20   in front of the Spa.
21      16. As such, any wheelchair user wishing to travel from one building to another
22   would be forced to travel in the vehicular drive paths. Plaintiff was unwilling to
23   make that attempt for fear of his own safety and the difficult it presented.
24      17. Plaintiff personally encountered these barriers.
25      18. These inaccessible conditions denied the plaintiff full and equal access and
26   caused him difficulty and frustration.
27      19. Transaction counters are anotherone of the facilities, privileges, and
28   advantages offered by Defendants to patrons of the Spa.


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 1     20. Although the plaintiff did not confront this barrier, the transaction counter is
 2   about 42 inches in height. There is no lowered, 36-inch portion of counter for use
 3   by persons in wheelchairs.
 4     21. Plaintiff would like to return and patronize the Spa but will be deterred from
 5   visiting until the defendants cure the violations.
 6     22. The defendants have failed to maintain in working and useable conditions
 7   those features required to provide ready access to persons with disabilities.
 8     23. The violations identified above are easily removed without much difficulty
 9   or expense. They are the types of barriers identified by the Department of Justice as
10   presumably readily achievable to remove and, in fact, these barriers are readily
11   achievable to remove. Moreover, there are numerous alternative accommodations
12   that could be made to provide a greater level of access if complete removal were not
13   achievable.
14     24. For example, there are numerous paint/stripe companies that will stripe a van
15   accessible parking stall and access aisle and install proper signage on short notice
16   and for a modest price, sometimes as low as $300, in full compliance with federal
17   and state access standards.
18     25. Another common barrier removal project is modifying transaction counters
19   to make a portion of the counter accessible. This is a simple construction task, well
20   within the capabilities of any general contractor. The task can be completed easily
21   and for a modest price.
22     26. Plaintiff is and has been deterred from returning and patronizing the Spa
23   because of his knowledge of the illegal barriers that exist. Plaintiff will, nonetheless,
24   return to assess ongoing compliance with the ADA and will return to patronize the
25   Spa as a customer once the barriers are removed.
26     27. Given the obvious and blatant violation, the plaintiff alleges, on information
27   and belief, that there are other violations and barriers on the site that relate to his
28   disability. Plaintiff will amend the complaint, to provide proper notice regarding the


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 1   scope of this lawsuit, once he conducts a site inspection. However, please be on
 2   notice that the plaintiff seeks to have all barriers related to his disability remedied.
 3   See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 4   encounters one barrier at a site, he can sue to have all barriers that relate to his
 5   disability removed regardless of whether he personally encountered them).
 6     28. Additionally, on information and belief, the plaintiff alleges that the failure
 7   to remove these barriers was intentional because: (1) these particular barriers are
 8   intuitive and obvious; (2) the defendants exercised control and dominion over the
 9   conditions at this location and, therefore, the lack of accessible facilities was not an
10   “accident” because had the defendants intended any other configuration, they had
11   the means and ability to make the change.
12
13   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
14   DISABILITIES ACT OF 1990 (On behalf of plaintiffs and against all defendants
15   (42 U.S.C. section 12101, et seq.)
16     29. Plaintiff repleads and incorporates by reference, as if fully set forth again
17   herein, the allegations contained in all prior paragraphs of this complaint.
18     30. Under the ADA, it is an act of discrimination to fail to ensure that the
19   privileges, advantages, accommodations, facilities, goods and services of any place
20   of public accommodation is offered on a full and equal basis by anyone who owns,
21   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
22   Discrimination is defined, inter alia, as follows:
23             a. A failure to make reasonable modifications in policies, practices, or
24                procedures, when such modifications are necessary to afford goods,
25                services, facilities, privileges, advantages, or accommodations to
26                individuals with disabilities, unless the accommodation would work a
27                fundamental alteration of those services and facilities. 42 U.S.C. §
28                12182(b)(2)(A)(ii).


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 1             b. A failure to remove architectural barriers where such removal is
 2                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 3                defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 4                Appendix “D.”
 5             c. A failure to make alterations in such a manner that, to the maximum
 6                extent feasible, the altered portions of the facility are readily accessible
 7                to and usable by individuals with disabilities, including individuals
 8                who use wheelchairs or to ensure that, to the maximum extent feasible,
 9                the path of travel to the altered area and the bathrooms, telephones, and
10                drinking fountains serving the altered area, are readily accessible to
11                and usable by individuals with disabilities. 42 U.S.C. § 12183(a)(2).
12     31. Any business that provides parking spaces must provide accessible parking
13   spaces. 1991 Standards § 4.1.2(5); 2010 Standards § 208. One in every eight of those
14   accessible parking spaces but not less than one must be a “van” accessible parking
15   space, i.e., having an eight foot access aisle. 1991 Standards § 4.1.2(5)(b). Under
16   the 2010 Standards, one in every six accessible parking spaces must be van
17   accessible. 2010 Standards § 208.2.4.
18     32. Here, the failure to provide a van accessible parking space in the parking lot
19   serving the Spa is a violation of the ADA.
20     33. Under the ADA, there must be at least one accessible route connecting every
21   building on the same site. 1991 Standards § 4.3.2(2); 2010 Standards § 206.2.2.
22   Travel in the vehicular drive path with vehicles is not part of an accessible route. Id.
23     34. Here, the failure to provide an accessible route is a violation of the ADA.
24     35. In areas used for transactions where counters have cash registers and are
25   provided for sales or distribution of goods or services to the public, at least one of
26   each type shall have a portion of the counter which is at least 36 inches in length
27   with a maximum height of 36 inches above the floor. 1991 Standards § 7.2(1). Under
28   the 2010 Standards, where the approach to the sales or service counter is a parallel


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 1   approach, such as in this case, there must be a portion of the sales counter that is no
 2   higher than 36 inches above the floor and 36 inches in width and must extend the
 3   same depth as the rest of the sales or service counter top. 2010 Standards § 904.4 &
 4   904.4.1.
 5     36. Here, no such accessible transaction counter has been provided, in violation
 6   of the ADA.
 7     37. A public accommodation must maintain in operable working condition those
 8   features of its facilities and equipment that are required to be readily accessible to
 9   and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
10     38. Here, the failure to ensure that the accessible facilities were available and
11   ready to be used by the plaintiff is a violation of the law.
12     39. Given its location and options, plaintiff will continue to desire to patronize
13   the Spa but he has been and will continue to be discriminated against due to the lack
14   of accessible facilities and, therefore, seeks injunctive relief to remove the barriers.
15
16   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
17   RIGHTS ACT (On behalf of plaintiffs and against all defendants) (Cal Civ § 51-
18   53)
19     40. Plaintiff repleads and incorporates by reference, as if fully set forth again
20   herein, the allegations contained in all prior paragraphs of this complaint.
21     41. Because the defendants violated the plaintiffs’ rights under the ADA, they
22   also violated the Unruh Civil Rights Act and are liable for damages. (Civ. Code §
23   51(f), 52(a).)
24     42. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
25   discomfort or embarrassment for the plaintiffs, the defendants are also each
26   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-(c).)
27
28          PRAYER:


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 1          Wherefore, Plaintiff prays that this court award damages and provide relief
 2   as follows:
 3       1. For injunctive relief, compelling defendants to comply with the Americans
 4   with Disabilities Act and the Unruh Civil Rights Act. Note: the Plaintiff is not
 5   invoking section 55 of the California Civil Code and is not seeking injunctive relief
 6   under the Disabled Persons Act at all.
 7       2. Damages under the Unruh Civil Rights Act which damages provide for actual
 8   damages and a statutory minimum of $4,000.
 9       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant to
10   42 U.S.C. § 12205; Cal. Civ. Code § 52.
11
12
13   Dated: January 3, 2018             CENTER FOR DISABILITY ACCESS
14
15
16                                      By: ____________________________
                                              Isabel Masanque
17                                            Attorney for Plaintiff
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